               UNITED STATES COURT OF INTERNATIONAL TRADE
               BEFORE: HON. TIMOTHY C. STANCEU, SENIOR JUDGE




 ZOETIS SERVICES LLC,

                       Plaintiff,                     Court No. 22-00056

        v.

 UNITED STATES,

                       Defendant.


                                             ORDER

       Upon consideration of Plaintiff’s Consent Motion for Leave to File First Amended

Complaint, and good cause appearing therefore, it is hereby:

       ORDERED that Plaintiff’s motion is granted; and it is further

       ORDERED that Plaintiff’s Amended Complaint is entered in the above referenced action

       and considered filed as of the date of this Order.




                                                     ___________________________
                                                     Timothy C. Stanceu, Senior Judge
Dated: ______________
       New York, NY
                UNITED STATES COURT OF INTERNATIONAL TRADE
                BEFORE: HON. TIMOTHY C. STANCEU, SENIOR JUDGE




 ZOETIS SERVICES LLC

                        Plaintiff,                     Court No. 22-00056

        v.

 UNITED STATES,

                        Defendant.


     CONSENT MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

       Pursuant to Rule 15(a)(2), Plaintiff, through its undersigned attorneys, hereby moves this

Court for an order granting leave to file an Amended Complaint in the above-referenced action.

This is the first request to amend the Complaint in this case.

       This case concerns the proper tariff classification of certain Chlortetracycline Concentrate

Feed Grade Powder (“CTC Concentrate”). As recognized during discovery, Plaintiff has identified

certain discrepancies in the allegations of the original complaint. For example, in the current

Complaint, Plaintiff alleges that the CTC Concentrate is used to make finished products recognized

by the U.S. Food and Drug Administration (“FDA”) as “Type-A Medicated Feed Articles.”

However, this description is incorrect and should have stated these finished products are “Type-A

Medicated Articles.”

       Additionally, on August 31, 2023, U.S. Customs and Border Protection (“CBP”) issued

Headquarters Ruling Letter (“HRL”) H325604 classifying a Chlortetracycline Feed Grade

Concentrate (“CTC-FG”) product under subheading 2941.30.00 under the Harmonized Tariff

Schedule of the United States (HTSUS). Upon review, Plaintiff believes that the CTC-FG product

at issue in HRL H325604 is nearly identical to the CTC Concentrate at issue in this case. Therefore,
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Plaintiff has added a new Count I to the Complaint, asserting classification of its imported CTC

Concentrate under HTSUS subheading 2941.30.00 in accordance with CBP’s decision in HRL

H325604.

        Pursuant to U.S. Court of International Trade Rule 15(a)(2), “a party may amend its

pleading only with the opposing party’s written consent or the court’s leave. The court should

freely give leave when justice so requires.”

        Plaintiff consulted with counsel for Defendant, Luke Mathers, Esq., of the U.S. Department

of Justice, who consented to this motion on March 12, 2024. Plaintiff further submits that,

notwithstanding opposing counsel’s consent, good cause supports this request because the

proposed amendment to the Complaint, by aiming to better clarify the specific goods at issue in

this case and the applicable administrative precedent, is intended to assist the parties and the Court

in reaching a resolution.

        For the reasons above, we respectfully assert that the proposed amendment to the

Complaint, attached hereto as Exhibit A, is just and will facilitate the further judicial review of

this action without prejudice to Defendant.1

        WHEREFORE, Plaintiff respectfully requests that this motion be granted.




1
        In accordance with Administrative Order 02-01, paragraph 4(d)(i), also attached hereto is an errata
        sheet that includes “a list of each amendment or correction including the page number for each
        amendment or correction” (Exhibit B); and “an amended or corrected version of the [Complaint]
        showing the additions, deletions, and any other changes in a ‘redline and strikeout’” (Exhibit C).
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                                       Respectfully submitted,

                                       FAEGRE DRINKER BIDDLE & REATH LLP
                                       Attorneys for Plaintiff
                                       Zoetis Services LLC
                                       320 S. Canal Street, Suite 3300
                                       Chicago, IL 60606
                                       Telephone (312) 569-1000

                                       By: /s/ William R. Rucker


Dated: March 12, 2024
                                CERTIFICATE OF SERVICE

       William R. Rucker certifies that he is an attorney with the law firm of Faegre Drinker

Biddle & Reath LLP, with offices located at 320 S. Canal Street, Suite 3300, Chicago, Illinois

60606, and that on March 12, 2024, on behalf of the Plaintiff herein, he served the attached Motion

for Leave to File First Amended Complaint on:

                                        Luke Mathers
                           U.S. Department of Justice, Civil Division
                                 Commercial Litigation Branch
                                       26 Federal Plaza
                                          Room 346
                                    New York, NY 10278

the attorney for the Defendant herein, by electronic service in the CM/ECF System of the Court

of International Trade and email at luke.mathers@usdoj.gov.



                                             /s/ William R. Rucker
